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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SERGEANT DANIELLE ALSTON,                       :
          Plaintiff,

               v.                               :
                                                             CIVIL ACTION
CITY OF PHILADELPHIA, d/b/a/                                 NO. 18-2362
PHILADEPHIA POLICE DEPT.; and                   :
LIEUTENANT BRIAN DOUGHERTY,
Individually and in His Official Capacity as
Lieutenant for the Philadelphia Police          :
Department
               Defendants.

                                               ORDER


       AND NOW this 14th day of May 2019, it is hereby ORDERED as follows:


               (1)    Fact discovery shall be completed on or before September 11, 2019;


               (2)    The parties shall contact Magistrate Judge Lynne A. Sitarski to schedule a
                      settlement conference to be held after September 11, 2019 but no later
                      than October 28, 2019; and,


               (3)    On or before November 12, 2019, the parties shall provide this Court with
                      a jointly-prepared written status report.1
                                                                  BY THE COURT:


                                                                  /s/ C. Darnell Jones, II




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         Said report shall inform the court as to the extent to which expert discovery may be
       necessary, as well as whether the parties would be amenable to continuing their
       settlement efforts with Judge Sitarski or participating in the Court-Annexed Mediation
       Program at no cost to either side. A list of approved mediators participating in the
       Program may be found at: http://www.paed.uscourts.gov/documents2/mediation.
